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ALSD Local AO 93 (Rev. 8/13) Search and Seizure Warrant Pagel D# 25
—aa—— a eEE—ESEa—ES —
UNITED STATES DISTRICT COURT
for the
Southern District of Alabama
In the Matter of the Search of )
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No. MdJ-23- { 5 | = [a
ram accounts )
that is stored at ) Filed under seal
premises controlled by Meta Platforms, Inc. )

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Northern District of California

(identify the person or describe the property to be searched and give its location):
See Attachment A (incorporated by reference).

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):
See Attachment B (incorporated by reference).

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before hy / y / O, 2 0 a 3
Gt to exceed 14 days)
© in the daytime 6:00 a.m. to 10 p.m. at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an

inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
Sonja F. Bivins .

(name)

(1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) © for days (not to exceed 30).

~

Date and time issued: Aunte Le, 2°aA3 2-089 . Ln Ue LY

© until, the facts justifying, the later specific date Yo .
/

fudge ’s signature

City and state: Mobile, Alabama Sonja F. Bivins U.S. Magistrate Judge

Printed name and title
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AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2) PagelD #: 26
Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

MJ-23-

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.

Date:

Executing officer’s signature

Printed name and title

